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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF ILLINOIS

EASTERN DIVISION
ELAINA TURNER and )
ULYSSES GREEN, ) Case No. 15 CV 6741
)
Plaintiffs, ) JUDGE SHARON J. COLEMAN
)
vs. )
) Magistrate Judge Susan Cox
CITY OF CHICAGO, ILLINOIS, and )
CHICAGO POLICE OFFICERS )
Patrick KELLY, Star No. 1939')', )
Jeffrey WEBER, Star No. 13854 and )
James KUBlK, Star No. 1397r )
)
Det`endants. )

DEFENDANT CITY’S ANSWER TO PLA]NTIFF'S F[RST SET OF
lNTERROGATORIES TO DEFENDANT CITY OF CI-IICAGO
____-___________

Defendant, CITY OF CHICAGO (“City”), by its attorney, Stephen R. Patton,

Corporation Counsel of the City of Chicago, for its answer to Plaintiff’s First Set of
Interrogatories to Defendant ClTY OF CHICAGO, states as follows:

I. State the name, job title, address, and phone number of every person who
participated in answering these Interrogatories and accompanying discovery requests, indicating
which particular interrogatory answer and discovery requests were answered by which person.
ANSWER: The City objects to this interrogatory as vague and ambiguous, overbroad, and
unduly burdensome Subject to and without waiving these objections, the City states that answers
to these interrogatories and responses to plaintiffs’ request for the production of documents were
prepared by the City’s counsel of record with the assistance of the Oftice of Legal Affairs of the

Chicago Police Department, 35 l 0 South Michigan Avenue, Chicago, Illinois(312;"745-6115),

including but not limited to Sgt. Eric Winstrom; other units of the Chicago Police Department;

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and, other departments of the City of Chicago, including the Independent Police Review

Authority.

2. Please identify by name and address all persons who have knowledge of facts that
relate to any of the claims or defenses in this action. If you answer this Interrogatory by
incorporating Documents, please indicate whether there are any additional persons with
knowledge responsive to this Interrogatory who are NOT listed in the documents to which you
refer.

ANSWER: The City objects to this interrogatory as unduly burdensome, calling for a long,
narrative answer better suited to an oral deposition, to the extent it requests information outside
of the scope of the City’s knowledge, more properly directed to the Defendant Ofticers, and
requesting personal information of law enforcement officers, the disclosure of which presents a
safety and privacy concern for the officers and their families. Subject to and without waiving
these objections, the City refers Plaintiffs to the persons listed in Defendants’ Rule 26(a)(l)
disclosures and any supplements to those disclosures Answering further, the City refers
Plaintiffs to the Area File (FCRL 000001-000018), the Plaintiffs’ arrest reports (FCRL 000019-
000023, 000036-000040), the impound documents (FCRL 000054-000055), the officer battery
report (FCRL 000066-000067), the tactical response report (FCRL 000105-000106), the Chicago
Fire Department Run Sheet (FCRL 000822-000824), and the original case incident report and
supplemental reports (FCRL 000842-000852).

3. Please state whether there have been any complaints of misconduct in the past ten (IO)
years made against any of the Defendant Officers in this case or responding police officers
(including any complaints which presently remain pending) which are not listed on the
disciplinary print-cuts produced in this litigation, including but not limited to any and all Intemal
Affairs Complaints, Independent Police Review Authority Complaints ("IPRA"), and any and all
Complaints lodged to any reviewing authority of the CITY against the Defendant Ofticers
alleging excessive force, wrongful arrest, or denial of medical care. For all Complaints
responsive to this Interrogatory, please provide the CR number or other identifying information.

ANSWER: The City objects to this interrogatory as irrelevant, vague, unduly burdensome,

overly broad in scope and time, and to the extent it may implicate the law enforcement

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investigatory privilege. Subject to and without waiving these objections, the City refers
Plaintiffs to the CRMS histories of the Defendant Offlcers, Bates-stamped as FCRL 000828-

000829.

4. For each such complaint listed in Interrogatory 3, briefly describe the nature of
the complaint and state the name, address, and phone number of the complainant andfor attorney
representative of the complainant
ANSWER: The City objects to this interrogatory as irrelevant, vague, unduly burdensomc,
overly broad in scope and time, and to the extent it may implicate the law enforcement
investigatory privilege. Subject to and without waiving these objections, the City refers
Plaintiffs to the Defendant Officers’ CRMS histories, Bates-stamped as FCRL 000828-000829,
and further refers Plaintiff to the complaint register files produced by Plaintiff, Bates-stamped as
IPRA 000001-002957.

5. Please state each and every lead investigator assigned to investigating the
allegations made by Plaintiff Elaina Turner against Defendant Chicago Police Patrick Kelly
under LOG #1063990, regarding the incident-giving rise to this complaint For each such
investigator please state the beginning and ending dates of their assignment, the agency or
department for which helshe worked, and the duties and responsibilities they maintained as lead
investigator.

ANSWER: The City objects to this interrogatory as vague as to “lead investigator” and
“duties and responsibilities” and calling for a long, narrative answer better suited to an oral
deposition. The City further objects to the extent that information related to the duties and
responsibilities of a lead investigator is more properly elicited via a properly noticed Rule
30(b)(6) deposition. Subject to and without waiving these objections, the City states that from
approximately August 6, 2013 to approximately May 26, 2015 the lead investigator was Richard

Delaney and from approximately May 26, 2015 to the present the lead investigator is Tammy

Clark. Answering further, Mr. Delaney and Ms. Clark were both working as lnvestigator 11

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investigators for the Independent Police Review Authority and were assigned as the primary
investigators (at different times) whose responsibility it was to investigate the case.

6. From August 9, 2013 through January 7, 2015, please state any and all
investigation processes that took place in reviewing the allegation made under LOG #1063990
by the Independent Police Review Authority. '
ANSWER: The City objects to this interrogatory as vague as to “investigation processes” and
calling for a long, narrative answer better suited to an oral deposition. Subject to and without
waiving these objections, the City refers Plaintiffs to the contents Log No. 1063990, a portion of
which was previously produced by Plaintiff (Bates-stamped as IPRA 002104-002181 and
including various attachments).

?. Please state the reason that Offrcer Kelly or Officer Weber were not interviewed

or contacted by the independent Police Review Authority regarding the allegation of complaint
LOG #: 1063990 until August l’i', 2015 - over two years after the initial allegations were made
by Plaintiff Turner and Green?
ANSWER: The City objects to this interrogatory as argumentative and calling for a long,
narrative answer better suited to an oral deposition. Subject to and without waiving these
objections, the City states that Officers Kelly and Weber were interviewed as soon as sufficient
evidence was collected in order to properly conduct the interviews.

8. For all such reasons set forth in lnterrogatory No. ?, please state the person that
was responsible for making that decision and whether that decision conflicted with any policy,
practice or customs of IPRA or the City of Chicago.

ANSWER: The City objects to this interrogatory as argumentative, calling for a long,
narrative answer better suited to an oral deposition, and vague as to “making that decision” and
“policy, practice, or customs.” The City further objects to the extent that information related to
policies is more properly elicited via a properly noticed 30(b)(6) deposition. Subject to and

without waiving these objections, the City states that Supervisor Mark Hitt determined that more

information was needed before conducting the interviews of the ofticers.

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9. Please state whether the Independent Police Review Authority creates or obtains
as a matter of policy, practice or custom any CR history or complaint history of the Chicago
Police Offrcers for which an allegation of police misconduct is charged against? If yes, please
state the CR history obtained and whether the policy, practice or custom is written down or
simply taught and prevalent among IPRA investigators.

ANSWER: The City objects to this interrogatory as vague and ambiguous as to “creates or
obtains,” “policy, practice or custom,” and “any CR history or complaint history.” The City
further objects to this interrogatory as it is better suited to a properly noticed Rule 30(b)(6)
deposition. Subject to and without waiving these objections, the City states that lPRA has access
to Crystal Reports, which document complaints against officers over a seven year time-frame.

10. Please state whether any Criminal History report of Officer Kelly or Off`rcer
Weber were created or obtained by an investigator for IPRA as part of the investigation of the
complaint made by Plaintiff Elaina Turner under LOG # 1063 990, prior to December 9, 2013? If
answered in the affirmative, please state the person who created or obtained the CR report and
the type of report created or obtained (i.e 7 year CrystaI Report, CRMS 10 year report, etc.)
ANSWER: The City objects to this interrogatory as vague as to “criminal history report.”
Subject to and without waiving these objections, the City refers Plaintiff to the contents of Log
No. 1063990, a portion of which was already produced by Plaintiff. lf any further contents exist,
the City will produce the additional materials subject to entry of an appropriate protective order.
Answering further, the City states that a Crystal report for Offrcer Kelly was printed by
Supervisor Hitt on August 7, 2015. Answering further, no Crystal report was printed for Officer
Webber because he was not named as an accused in Log No. 1063990.

10 [sic]. Please state whether any Criminal History report of Offrcer Kelly or Offrccr
Weber were created or obtained by an investigator for IPRA as part of the investigation of the
complaint made by Plaintiff Elaina Turner under LOG # 1063990, prior to March 19, 2015? If
answered in the affirmative, please state the person who created or obtained the CR report that
type of report that was created or obtained. (i.e 7 year Crystal Report, CRMS 10 year report, etc.)
ANSWER: The City objects to this interrogatory as argumentative, cumulative, and vague as

to “criminal history report.” Subject to and without waiving these objections, the City refers

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Plaintiff to Log No. 1063990, to be produced subject to entry of an appropriate protective order,
and states that a Crystal report for Officer Kelly was printed by Supervisor Hitt on August ?,
2015. Answering further, no Crystal report was printed for Otficer Webber because he was not
named as an accused in Log No. 1063990.

11. Please state whether the Independent Police Review Authority ever contacted the
tow truck driver, Donald A. Leitmeyer, who was on scene and witnessed the Tasing of Plaintiff
Elaina Turner on August 2, 2013, as part of its investigation of the Plaintiff Elaina Turner's
allegations under LOG # 1063990? If answered in the affirmative, please state the date of the
contact and the name of the IPRA or City of Chicago employee that made the contact
ANSWER: The City objects to this interrogatory as more properly suited to an oral
deposition. Subject to and without waiving this objection, the City states that Donald A.
Leitmeyer has not been contacted to date.

12. Please state whether the IPRA has concluded its investigation of the incident-
giving rise to the complaint on August 2, 2013? If answered in the affirmative please state the
following:

(a) The date the investigation was concluded;

(b) The outcome of the investigation (including any specific tindings)

(c) The person(s) who reviewed and signed off on the conclusion; and

(d) Any and all discipline recommendation as to the Defendant Officers.
ANSWER: The City objects to this interrogatory as vague as to “concluded” and
“investigation.” Subject to and without waiving these objections, the City states that the
investigation of Log No. 1063990 is in its final stages and the City will supplement its answer to

this interrogatory when Log No. 1063990 is closed.

13. Please state whether the criminal trial transcript of Elaina Turner and Ulysses
Green were reviewed as part of the investigation of LOG # 1063990?

ANSWER: The City objects to this interrogatory as better suited to an oral deposition.

Subject to and without waiving this objection, the City states that the criminal trial transcripts of

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Elaina Turner and Ulysses Green have not been reviewed as part of the investigation of Log No.
1063990.

14. Please state whether Defendant Officer Patrick I<.elly is still assigned to street
duty as a Chicago Police Officer as of the present date, January 25, 2016. lf not, please state the
date that Off`icer Patrick Kelly was removed from active street duty and reason(s) thereof.
ANSWER: The City objects to this interrogatory as argumentative, lacking a relevant time-
frame, and vague as to “assigned to the street.” Subject to and without waiving these objections,
the City states that City records indicate that Officer Kel ly was assigned to the 9th District, Beat
935, on January 25, 2016.

15. Please state whether Defendant Officer Patrick Kelly is authorized to carry a
Taser while on duty as a Chicago Police Officer as of the present date, January 25, 2016?

ANSWER: The City objects to this interrogatory as lacking a relevant time-frame. Subject to
and without waiving these objections, the City states that City records indicate that Off`icer Kelly
was authorized to carry a taser while on duty on January 25, 2016.

16. Please identify each and every CR complaint made against Oft'icer Patrick Kelly

that resulted in discipline or a finding of misconduct against him. For each such complaint,
please describe the discipline imposed and the rule or regulation that Ofiicer Kelly was
determined to have violated.
ANSWER: The City objects to this interrogatory as unduly burdensome, lacking an
adequately defined time-frame, and vague and ambiguous as to “resulted in discipline.” Subject
to and without waiving these objections, the City refers Plaintiffs to Officer Kelly’s CRMS
history, Bates-stamped as FCRL 000828, and further refers Plaintiffs to the complaint register
file produced by Plaintiff, including the documents Bates-starnped as IPRA 000263-000348 and
00]365-002102.

1?'. Please state whether the Defendant CITY OF CHICAGO contends that Defendant

Oft'icer Patrick Kelly exhibits the professionalism and character to patrol the streets of Chicago
as a Chicago Police Ofticer as ofJanuary 25, 2015.

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ANSWER: The City objects to this interrogatory as argumentative, vague and ambiguous,
and lacking an adequately defined and relevant time-frame.

18. Please state whether the Defendant CITY OF CHICAGO contends that Chicago
Police Off`icer Patrick Kelly was justified in Tasing Plaintiff Elaina Tumer on August 2, 2013?

ANSWER: The City objects to this interrogatory as argumentative, vague as to “justif'ied,”
calling for a long, narrative answer better suited to an oral deposition, and premature as Log No.
1063990 has not been finalized and closed.

19. Please state whether the Defendant CITY OF CHICAGO contends that Chicago
Police Officer Patrick Kelly was justified in dry stunning Plaintiff Elaina Tumer in the belly on
August 2, 2013?

ANSWER: The City objects to this interrogatory as argumentative, vague as to “justified,”
calling for a long, narrative answer better suited to an oral deposition, and premature as Log No.
1063990 has not been finalized and closed.

20. Please state any and all reasons why the City of Chicago non-suited the case City
of Chicago v. Ulysses Green, Docket No. 13 VP 012192, brought at the Department of
Administrative Hearings.

ANSWER: The City objects to this interrogatory as irrelevant and to the extent it calls for
information protected by the attorney-client privilege andfor work-product doctrine.

21. Please list by Court and Casc Caption each and every lawsuit that has been filed
for which has named Defendant Officer Patrick Kelly, in his official capacity as a Chicago Police
Off`rcer, as a defendant
ANSWER: The City objects to this interrogatory as overly broad, unduly burdensomc, more
properly directed to Officer Kelly, to the extent it calls for information that may be outside of the
City’s knowledge, and calling for information equally available to Plaintiff. Subject to and
without waiving these objections, the City states, upon information and belief, that, aside from

the present lawsuit, Off`icer Kelly has been named in the following lawsuits:

a. Wr'lson v. Keliy, et af., 08 CV 4103, Northern District of lllinois

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b. Martinez, et al. v. City of Chicago, er al., 09 CV 5938, Northern District of
lllinois

c. Ri'os v. City ofChi'cago, er at , 08 CV 4272, Northem District of lllinois

d. LaPorra v. City of Chicago, et al., 14 CV 9665, Northern District of Illinois,
removed from Circuit Court of Cook County

22. For each such case identified in Interrogatory No. 21, please state the
following'.

(a) The outcome of the case (if not still pending)

(b) If case settled, state the amount of the settlement regardless if the City
denied liability in the settlement; and

(c) The date of the outcome or settlement

ANSWER: The City objects to this interrogatory as overly broad, unduly burdensome, more
properly directed to Officer Kelly, and calling for information equally available to Plaintiff.

23. In the last ten (10) years, please state the number of Chicago Police Officers that
have been disciplined for unjustified Tasing of a civilian. For each such officer state the name
and discipline imposed.

ANSWER: The City objects to this interrogatory as unduly burdensome, having an overly
broad time-frame, and vague as to “discipline imposed.” The City further objects to this
interrogatory as to relevancy and proportionality based upon the City’s pending Motion to
Bif`urcate. Subject to and without waiving these objections, the City agrees to seasonably
supplement its answer to this interrogatory subject to the Court’s ruling on its Motion to

Bifurcate.

Respectfully submitted,

!S!Morion C. Moore
MARION C. MOORE

Assistant Corporation Counsel
30 North LaSalle Street, Suite 900

Chicago, lllinois 60602
(312) ?44»1056 (P)
(312) 344-65 66 (F)

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CERTIFICATE OF SERVICE

 

I hereby certify that I have served this notice and the attached document Defendant
City’s Answer to Plaintiff’s First Set of Interrogatories to Defendant City of Chicago by
causing it to be delivered by U.S. Mail Postage Prepaid to the following: LAW OFFICE OF
JEFFREY B. GRANICI-I, Jeffrey B. Granich, 53 W. Jackson, Suite 1028, Chicago, IL 60604,

and to all counsel of record via email, on this 8th day of April 2016.

LSMM
MARION MOORE
Assistant Corporation Counsel

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CERTIFICATION

Pursuant to 28 U.S.C. § 1746, the undersigned, Eric Winstro.m, assigned to the Office of
Legal Affairs, Chicago Police Department, certifies that he signed Nos. 1-4, 14~17, and 21-22 of
the foregoing Defendant City of Chicago’s Answers to Plaintiff’s First Set of Interrogatories,
with the following clarification co lnterrogatory No. 16: that there was a preliminary sustained
finding as to two of the allegations in Log No. 308519, but those findings were overridden to
result in a final finding of Not Sustained because the evidence was not enough to prove or
disprove the allegations; and that this is reflected in Log No. 308519, Bates-stamped as IPRA
000263-000348. The undersigned further certifies that that he is duly authorized to provide such
certification within his corporate capacity; that certain of the matters stated in the foregoing
response are not within his personal knowledge and belief, there is no employee of the City of
Chicago who has personal knowledge of all such matters and that the statements set forth in the
foregoing Answers to Nos. 1-4, 14-17, and 21-22 to Plaintiff’s First Set of Interrogatories arc
based on documents and information which has been assembled by authorized employees and
counsel of the City of Chicago, and that he is informed and believe that the statements set forth

in the foregoing responses are true and accurate to the best of his knowledge information and

M»~

ERIC WINSTROM
Chicago Police Department
Office of Legal Affairs

belief

 

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UNITED STATES DISTRICT COUR'I`
NORTHERN DISTRIC'I` OF ILLINOIS

EASTERN DIVISION
ELAINA TURNER and )
ULYSSES GREEN, ) Case No. 15 CV 6741
)
Plaintiffs, ) JUDGE SHARON J. COLEMAN
)
vs. )
) Magistrate Judge Susan Cox
CITY OF CHICAGO, ILLINOIS, and )
CHICAGO POLICE OFFICERS )
Patrick KELLY, Star No. 19397, )
Jeffrey WEBER, Star No. 13854 and )
James KUBIK, Star No. 1397 )
)
Defendants, )

DEFENDANTS RESPONSE TO PLAINTIFF'S FIRST RE UEST FOR THE
BODUCTION OF DOCUIV[ENTS TO DEFEN])ANT CITY OF CHICAGO

Defendant CITY OF CHICAGO (“the City”), by and through its attorney MARION
MOORE, Assistant Corporation Counsel for the City of Chicago, for her answer to Plaintiff’ s
First Request for Production of Documents to Defendant CITY OF CHICAGO, states as follows:

l. All documents relating to any internal investigation (e.g. O.P.S., Internal Affairs,
Independent Police Review Authority) of the incident described in Plaintiff‘s complaint
including but not limited to all attachments and investigator notes regardless of whether those
notes are incorporated into subsequent documents, all color photographs taken of Plaintiff or
Defendants, all audio or video statements taken of Plaintiff or Defendants or witnesses regarding
the incident
RESPONSE: The City objects to this request to the extent it calls for documents already in
Plaintiffs’ possession. Subject to and without waiving this objection, the City states that Log No.
1063990 is now in Command Channel Review and remains open. Onee Log No. 1063990 is
closed, the City will produce the contents of Log No. 1063990 (which have been bates-stamped

FCRL208-572) currently in its possession along with any updated attachments and documents

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upon entry of a protective order that governs the use and dissemination of these materials.
Investigati`on continues

2. All documents relating to Defendant Officers' participation in any of the
following Departmental programs in the past 10 years: Behavioral lntervention System, Personal
Concems Program, or any other disciplinary or rehabilitative program.
RESPONSE: The City objects to this request as overbroad in terms of time frame and scope,
harassing, unduly burdensome and not proportional to the needs, issues, and defined subject
matter of the case as Plaintiffs Monel£ claim is limited to deficient internal disciplinary
investigations involving allegations of the unlawful use of tasers andi'or arrests without probable
cause. - The Department’s Behavioral Intervention System (“BIS”) and Personal Concems
Programs (“PCP”) are not disciplinary processes nor are they mechanisms to initiate discipline
Therefore, the Defendant Oft`icers’ participation, if any, in either program is neither material nor
relevant to any issue in this lawsuit or the subject matter of Plaintiffs Mone!f claim. Moreover,
the Department’s BIS and PCP is neither material, nor relevant, to assessing or evaluating the
integrity and effectiveness of IPRA in dealing with allegations of police misconduct Responding
further, the City objects to this request as calling for documents protected against disclosure
under the physician~patient privilege

3. All documents relevant to Defendant Officers‘ whereabouts on the date(s)
alleged in Plaintiffs complaint including but not limited to, Attendance & Assignment Sheets,
police reports, ticket books, and log sheets.
RESPONSE: The City objects to this request as calling for documents already in Plaintiffs’
possession, calling for information better suited for a deposition, vague as to “all documents
relevant,” overbroad in terms of requesting “ticket books and log sheets,” and disproportionate to
the needs of the case as the officers’ whereabouts on August 2, 2013 is not at issue in this case.

Subject to and without waiving these objections, the City refers Plaintiffs to Attendance and

Assignment Sheets (FCRL 799-821), Area File HW3903 85 (FCRL 1-18), Original Case Incident

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Report HW3903 85 (FCRL 842-852), Arrest Report-Turner (FCRL 48-52), and the OEMC Event
Queries found in Attachment #l'i' of Log No. 1063990, which is already in Plaintiffs’ pcssession.
Please note the City agrees to produce the contents of Log No. 1063990 once a protective order
has been entered in this case. If and when the City comes into possession of additional
documents responsive to this request, the City will produce them at that time. Invesrigarion
continues

4. All documents relevant to Defendant Officers‘ whereabouts on January 8, 2014,
including but not limited to, Attendance & Assignment Sheets, police reports, ticket books, and
log sheets
RESPONSE: The City objects to this request as calling for information better suited for a
deposition, vague as to “all documents relevant,” and irrelevant and disproportionate in that it
seeks discovery on the officers’ whereabouts of January 8, 2014 when the incident that is the
subject of this lawsuit occurred on August 2, 2013. Consequently, the officers’ whereabouts on
January 8, 2014 has no bearing on the events of August 2, 2013.

5. All documents relating to Chicago Police Department General Orders, Directives

(including Task Files for the directives), training materials, Department manuals, procedural
guidelines or memos, rules, written policies, or practices relating to the following subjects:

a) Determination of when probable cause exists to arrest a citizcn;
b) Arrest and seizure of a suspect;
c) When it is justified to use force.

RESPONSE: The City objects to the phrase “relating to” as vague and ambiguous and further
objects to this request as overly broad in terms of time frame and scope. The request fails to
identify a relevant time period and calls for “aIl documents,” which could encompass a wide
variety of materials created over the entire lifespan of the Chicago Police Department’s
existence To obtain the colossal amount of information and documentation would be unduly

burdensome Moreover, this request is irrelevant and disproportionate to the issues in the case as

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Plaintiffs are not bringing a “failure-to-train” type Mone!i claim. Subject to and without waiving
these objections, the City refers Plaintiff to the Chicago Police Department's online directives,
which can be found at www.directives.chicagopolice.org.

6. All documents relating to the administrative file of Docket No. 13VP012192,
including all notes, memorandums, subpoenas, video records, etc.

RESPONSE: The City objects to this request to the extent it calls for documents already in
Plaintiffs’ possession, as evidenced by a transcript of one of the hearings in Plaintiff Tumer’s
underlying criminal proceeding, which took place on March 19, 2015 (FCRL 646-651),
indicating that Plaintiffs received these materials from the Department of Administrative
Hearings pursuant to a FOIA request The City further objects to this request as irrelevant to
Plaintiffs’ Moner’l claim. Subject to and without waiving these objections, the City is not in
possession of any documents responsive to this request at this time, If and when the City comes
into possession of the administrative file of Docket No. 13VP012192, the City will produce it
upon receipt. Investr`garr'on continues

?. The complete disciplinary background of all Defendant Officers including any
and all civilian, internal, disciplinary or governmental complaints, investigative files, documents,
and all other records on these defendants, including any complaints of misconduct, investigative
reports of misconduct, recommendations findings, determinations, reviews, and any discipline
or punishment imposed as to every complaint and investigation.
RESPONSE: The City objects to this request: (1) as duplicative and unduly burdensome
because Plaintiffs are already in possession of all complaint histories and CRjLog Files of the
Defendant Officers Kelly and Weber dating as far back as 2001; (2) as overly broad in scope and
time; (3) vague and ambiguous as to what Plaintiffs mean by “recommendations”; (4) calling for
documents outside of the City’s possession, custody, or control because it seeks “governmental

complaints, investigative files, documents and all other records” which could encompass a

variety of agencies and divisions of state and federal govemment; (5) disproportionate to the

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needs of the case to the extent it seeks documents related to Officer Kubik because Plaintiffs’
complaint contains no allegations relating to Officer Kubik or provides no allegations from
which to infer Officer Kubik’s personal involvement in the alleged constitutional deprivations;
and (6) to the extent this request seeks the investigative tile of CRjLog No. 301330 as
disproportionate to the needs of the case as this complaint register involved an incident that
occurred in 2004, well outside of the S-year relevant time frame for Plaintiffs’ Monel! claim.
Subject to and without waiving these objections, the City refers Plaintiffs to Defendant Officers’
CRMS Histories (FCRL 828-829).

8. AIl documentation that set forth the investigation procedures on August 4, 2013,
provided by the Independent Police Review Authority to its investigators relating to the
investigation of misconduct complaints involving the Tasing of a civilian.
RESPONSE: The City objects to the phrase “all documentation” as vague, ambiguous, and
overIy broad in terms of scope, and further objects to the request as lacking foundation to the
extent it presupposes or suggests that complaints involving the use of a taser are considered
separate and distinct from complaints involving allegations of excessive force. Subject to and
without waiving these objections, the City refers Plaintiffs to the Independent Police Review
Authority’s Investigative Process, which can be found free of charge at
http:r'fwww.iprachicago.org!iprar'homepagefprocess.html, Annual Reports for the years 2003-
2013 that set forth the topics of ln-House training provided by IPRA for those years, which can
be found at http:r’fwww.iprachicago.org/inrafhomenagef[’ublicationPressfarchived reoorts.htm|
IPRA Standard Operating Procedures (FCRL 1015-1375), and GO 93 -03 (FCRL 929-1014).

9. For the last ten (10) years, please produce that complete investigative file for all

investigations that resulted in discipline being imposed on a Chicago Police Officer for the
unjustified Tasing of a civilian, including all attachments

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RESPONSE: The City objects to this request as unduly burdensome, overbroad, and not
proportionate to the needs of the case in that it appears to be seeking files of investigations that
occurred post-incident and files of investigations dating as far back as 2005. Subject to and
without waiving these objections, the City is not in possession of any documents responsive to
this request at this time, but will produce the CRfLog File for any investigations that resulted in
discipline for the use cfa Taser between 2008 and 2013, and subject to the entry of a protective
order. Responding further, the City refers Plaintiffs to IPRA’s Annual Reports, Quarterly
Reports, and Monthly Sustained Case Reports for the years 2008 to 2013, which can be found
free of charge at http:!iwww.iprachicago.org/iprafhomepageiPublicationPress.html. Investigan'on
continues

10. For each of the years 2008 through 2013, any and all documents containing
information related to the number of police misconduct complaints filed against Chicago police
officers alleging that a Chicago Police officer Tased a civilian without justification
RESPONSE: The City objects to this request as vague, unduly burdensome, overbroad, and not
proportionate to the needs of the case in that it appears to be seeking not only files of, but any
number of unidentified or unspecified documents that may relate in some way to investigations
over a five year period, and to the extent this request seeks documents outside the possession,
custody, or control of the City. Subject to and without waiving these objections, the City refers
Plaintiffs to IPRA’s Annual Reports, Quarterly Reports, and Monthly Sustained Case Reports for
the years 2008 to 2013, which can be found free of charge at
http:ffwww.iprachicago.org/iprafhomepagefPuincationPress.html. Invesn`gorion continues

ll. Any and all documents relating to implementing an effective early warning

system to identify police officers in need of behavioral intervention in the Chicago Police
Department.

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RESPONSE: The City objects to this request as overbroad in terms of scope and time, vague
and ambiguous as to the phrase “early warning system” and as to what constitutes “in need of
behavioral intervention.” Responding further, the City objects to this request as not proportional
to the needs, issues, and defined subject matter of the case as Plaintiffs’ Monel'r' claim is limited
to deficient internal disciplinary investigations involving allegations of the unlawful use of tasers
andior arrests without probable cause. The Department’s Behavioral Intervention System
(“BIS”) and Personal Concems Programs (“PCP”) are not disciplinary processes nor are they
mechanisms by which to initiate discipline Therefore, the Department’s BIS and PCP is neither
material, nor relevant, to assessing or evaluating the integrity and effectiveness of IPRA in
dealing with allegations of police misconduct

12. Any and all documents relating to the salaries of and any bonuses received
by the Defendant Officers for the years 2010 to the present.

RESPONSE: The City objects to this request as irrelevant, harassing, vague as to “relating to the
salaries,” not proportional to the needs, issues, and defined subject matter of the case as Plaintiffs
Moneii claim focuses on internal disciplinary investigations involving allegations of the unlawful
use of tasers andior arrests without probable cause, and to the extent it calls for information
contained in the Defendant Officers’ personnel files, which are protected from disclosure by the
lllinois Personnel Review Act. For general wage information of CPD members, the City refers
Plaintiffs to the CBA between CPD and the Fraternal Order of Police Chicago Lodge No. ?,
which is available for download free of charge at http:fidirectives.chicagopolice.org/directivesf.
13. Any and all documents containing information related to every Chicago Police
Department criminal investigation of Defendant Officer Kelly, including any and all arrest

reports, supplemental reports, General Progress Reports, original case reports, booking
photographs witness statements, etc.

 

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RESPONSE: The City objects to this request as harassing, irrelevant, not proportional to the
needs, issues, and defined subject matter cf the case as Plaintiffs Mone£i claim focuses on
internal disciplinary investigations involving civilian complaints alleging the unlawful use of
tasers and!or arrests without probable cause, to the extent it calls for documents already in
Plaintiffs’ possession, and calling for the production of law enforcement records relating to
Officer Kelly’s June 2006 (FCRL 574-587) and January 2010 (part of Log No. 1033096) arrests
that have now been expunged and, therefore, protected against disclosure The City will not
produce these materials until the entry of a protective order, which governs the use and
dissemination of these materials

14. All documents relating to the occurrences alleged in the complaint and/For answer
in this matter, including but not limited to, the complete investigative tile(s), any and all
statements, reports, photographs, investigative reports, court records, transcripts, testimony,
orders, pleadings or any court papers, andfor opinions and statements of Defendants, Plaintiff, or
any other witness or police officer regarding each occurrence alleged in the complaint
RESPONSE: The City objects to this request: (l) as unduly burdensome to the extent it calls for
documents not in the possession, custody, or control of the City; (2) as overbroad, vague and
ambiguous as to “the occurrences alleged in the complaint” as there is only one explicitly
defined occurrence_the August 2, 2013-referenced in the Complaint giving rise to the alleged
constitutional violations, while the remaining “occurrences” referred to in the Complaint concern
IPRA investigations relating to Log# 1063990 and other complaint registers filed against
Defendant Officers over almost a l5 year period involving their interactions with citizens;
therefore, the City objects to this request as not proportional to the needs and issues of the case,
given that Plaintiffs’ Moneif claim focuses on the adequacy of these internal disciplinary

investigations into allegations of misconduct, not the underlying incidents themselves or any

criminal proceedings tied to them; and (3) as duplicative and unduly burdensome because

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Plaintiffs are already in possession of all the Defendant Officers’ Log/CR files. Subject to and
without waiving these objections, the City agrees to produce Log Nos. 10?0321 and 1063990
upon the entry of an appropriate protective order once those files are closed. The City further
refers Plaintiffs to criminal court transcripts of Peopie v. Elaina Turner, which are bates-stamped

588-798.

15. The complete personnel files for each Defendant Officer and any other related
documents, including but not limited to, records reflecting each of the Defendant's participation
in or referral to the Department's Behavioral Alert, Behavioral Intervention, or Personnel
Concems programs, physical, psychological or evaluative tests for fitness for duty, performance
evaluations and ratings, awards or commendations, complaint and disciplinary records, job
assignments and details, and employment application

 

RESPONSE: The City objects to this request on the following grounds: (1) irrelevant; (2) calls
for documents protected against disclosure under the lllinois Personnel Record Review Act; (3)
calls for documents protected against disclosure under the lllinois Physiciaanatient Privilege,
enumerated in 735 ILCS 518-802 of the lllinois Code of Civil Procedure; and (4) calls for
documents protected against disclosure under the federal psychotherapist-patient privilege, as
announced in Jaj‘ee v. Redrnono’, 518 U.S. 1 (1996. Personnel files maintained by the Chicago
Police Department (“CPD”) contain the employee’s application for employment, financial
information, insurance information, and other personal information such as home address and
designation of beneficiary, and personnel files are protected from disclosure by the lllinois
Personnel Record Review Act. Disclosure of such personal information would infringe upon the
legitimate privacy and security interests of Defendants and their families Further, courts have
upheld the privacy interests of police officers in litigation and the right to protect their personal
security and bodily integrity by limiting discovery requests and holding municipal employers
liable for producing personnel files. See, e.g., Kallstrom v. Citv of Columbus. 136 F.3d 1055

(6th Cir. 1998). Disclosure of such personal information would infringe upon the law

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enforcement officers and their families’ legitimate privacy and security interests Furthermore,
the City renews the proportionality objections made in its Response to Plaintiffs Production
Request No.2. Subject to and without waiving these objections, the City refers Plaintiffs to
Defendant Officers’ CRMS histories (FCRL 828-829), complimentary histories (825-827), and
training histories (FCRL 893-921) to the extent these documents may be responsive to this
request
16. AlI physical evidence regarding the incidents alleged in the complaint, including,
but not limited to all photographs, recordings (video and audio), transcripts, slides, movies,
pictures, drawings, demonstrative aids or other depictions of:
a) the scene of any of the occurrences or incidents alleged in the
complaint;
b) Plaintiffs physical conditions after the alleged incident and in the
six months immediately prior and)'or subsequent;
c) any injuries or other damages alleged by any party;
d) media or news reports regarding Plaintiffs arrest and inj uries;
e) any video and)'or statements made by Plaintiff or any other
individuals relating in any way to the allegations in Plaintiffs
complaint; and,
f) any other tangible objects relating to this case
RESPONSE: The City objects to this request as unduly burdensome “The incident alleged in
the Complaint” could be construed as referring to the underlying policer'civilians interactions of
at least 29 complaint registers that were filed against Defendant Officers over a 15 year period.
Moreover, this request seeks not only physical evidence but a number of other sub-categories of
documents relating to these underlying policer'civilians interactions. To obtain these documents
would be unduly burdensome and disproportionate to the needs of the case in light of the subject
matter of Plaintiffs’ Moneii claim, which focuses on the My_pf the disciplinary

investigations, not the underlying incidents themselves Subject to and without waiving these

objections, the City refers Plaintiffs to Inventory Sheets-HW390385 (FCRL 830-840) and will

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assist Plaintiffs in arranging for a visual inspection of the inventoried items at CPD’s Evidcnce
and Recovered Property Section upon the entry of a court order.

l?. All documents relating to any injuries andior damages Defendants claim in this

matter, as well as any documents relating to Plaintiffs damages, which may be in the control of
Defendants,
RESPONSE: To the extent this request seeks documents relating to any medical andfor
psychiatric records of the Defendant Officers, the City objects to this request as harassing, over
broad, irrelevant and not proportional to the needs of the case and the subject matter of the
lawsuit as Defendant Officers’ physical andior mental condition is not at issue in this case, nor
are Defendant Officers claiming any physical or mental injuries resulted from the August 2, 2013
incident. Moreover, the Defenth Officers treatment history andr‘or drug and alcohol testing is
neither material nor relevant to the Plaintiffs’ Monell claim and, therefore, this request is
overbroad, unduly burdensome and disproportionate to the issues in the case Finally, the City
objects to this request as calling for documents protected against disclosure under the lllinois
Physician)'Patient Privilege, enumerated in 735 ILCS 5!8-802 of the lllinois Code of Civil
Procedure and the federal psychotherapist-patient privilege, as announced in Jojj‘ée v. Redmond,
518 U.S. 1 (1996). Subject to and without waiving these objections, the City refers Plaintiffs to
CFD Ambulance Run Sheets (FCRL 852~85'7), CFD Report-Elaina Tumer (FCRL 821-824), and
Plaintiff Tumer’s medical records obtained by IPRA from St. Bemard Hospital regarding her
treatment on August 2, 2013 following the incident, as found in Log File # 1036690 and which is
already in Plaintiffs’ possession

18. All documents relating to any expert witness who will be called to testify at trial
including but not limited to, all reports or opinions prepared by such expert, a curriculum vitae
for each and every such expert, copies of all articles, reports or professional papers published by
each expert, copies of all communications toifrom such experts regarding this matter, all

documents reviewed and relied upon, transcripts of prior testimony by such expert and copies of
any prior reports or opinions prepared by such expert for Defendant City.

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RESPONSE: The City objects to this request as premature as discovery is still ongoing. Subject
to and without waiving these objections, the City has not identified any experts at this time, but
reserves the right to identify experts in the future and will make the appropriate disclosures at the
time consistent with the applicable Rules of Civil Procedure

19. All medical andior psychiatric records relating to Plaintiff andr'or Defendants
which are in Defendants' possession or have been, or will be obtained, by Defendants through
third parties, which relate to present or past physical, medical, mental or psychological problems,
diagnoses or condition(s) of the parties. This request includes, but is not limited to, hospital and
doctors' records, all doctors' reports, including reports prepared by any psychiatrist psychologist
counselor, mental, drug and alcohol-related, or other health care practitioner or facility, insurance
claims made, public aid or disability benefits or income received or applied for (including SSI,
Medicaid, other public aid, etc.), drug tests taken, drug or alcohol counseling requested or
received, medicines or drugs prescribed (including the specific condition being treated), and all
medical and mental health records regarding drug and alcohol-related history and treatment
RESPONSE: To the extent this request seeks documents relating to any medical and!or
psychiatric records of the Defendant Officers, the City objects to this request as harassing, over
broad, irrelevant and not proportional to the needs cf the case and the subject matter of the
lawsuit as Defendant Officers’ physical andr‘or mental condition is not at issue in this case, nor
are Defendant Officers claiming any physical or mental injuries resulted from the August 2, 2013
incident Moreover, the Defendant Officers treatment history andfor drug and alcohol testing is
neither material nor relevant to the Plaintiffs’ Monet'i claim and, therefore, this request is
overbroad, unduly burdensome and disproportionate to the issues in the case Finally, the City
objects to this request as calling for documents protected against disclosure under the lllinois
Physiciaanatient Privilege, enumerated in 735 ILCS 518-802 of the lllinois Code of Civil
Procedure and the federal psychotherapist-patient privilege, as announced in Jayj‘be v. Redmond,

518 U.S. 1 (1996). Subject to and without waiving these objections, the City refers Plaintiffs to

CFD Ambulancc Run Sheets (FCRL 852-857), CF`D Report-Elaina Tumer (FCRL 821-824), and

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Plaintiff Turner’s medical records obtained by IPRA from St. Bemard Hospital regarding her
treatment on August 2, 2013 following the incident as found in Log File # 1036690 and which is
already in Plaintiffs’ possession.

20. Any and all reports or documents which support or relate to any of your responses
to Plaintiffs Interrogatories and!or Requests to Admit in this case

RESPONSE: '[he City objects to this request as premature as Plaintiffs have not propounded
any Requests to Admit on the City. Subject to and without waiving these objections, the City
refers Plaintiffs to Bates-stamped documents FCRI_. 1-23, 36-40, 54-55, 66-6?, 105-106, 822-
824, 841-851, and the contents of Log File No. 1063990.

21. All documents relating to the training policies of the City of Chicago in regards to
Chicago Police Officers certification to use a Taser, including but not limited police academy
curriculum (i.e required classes, test scores, and hours of classwork and training, if applicable)
and mandatory continuing education or training requirements of Chicago Police Officers
RESPONSE: The City objects to this request as irrelevant to any of the claims raised in this
case, overbroad as to time frame and scope, and not proportional to the issues in the case given
that Plaintiffs’ are not bringing a “failure-to-train” on the use of force or, specifically, the use of
Tasers under a Monefi' theory of liability, nor are they promising their willful and wanton
supervision claim on any allegations that the City’s training program on the use and certification
of Tasers is deficient or that the City somehow improperly trained Oflicer Kelly on using a Taser
or that Officer Kelly lacked certification to use a Taser. Subject to and without waiving these
objections, the City refers Plaintiffs to Officer Kelly’s training history (FCRL 893-899), and
CPD Directive U04-02-04, which is available for download free of charge at
http:ir'directives.chicagopolice.org/directives.

22. All documents related to City of Chicago policies relating to divesting complaints

made against Chicago Police Officers alleging excessive force by Taser, false arrest, or any
constitution violations

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RESPONSE: The City objects to this request as vague as to the phrases “related to” and
“relating to,” overbroad as to time frame and scope, duplicative unduly burdensome given the
lack of any defined period of time, and not proportional to the issues in the case as this request
seeks all documents related to City policies relating to investigating complaints alleging “any
constitutional violation” where the specific constitutional violations claimed in this case are
excessive force and false arrest Subject to and without waiving these objections, the City refers
Plaintiffs to the Bureau of internal Affairs website that outlines the Investigative and Complaint
Processes for those categories of complaints handled by CPD’s lnternal Affairs Division, which
is available at
https:iiportal.chicagopolice.org/portalfpageiportalr'ClearPathilntemal%20Affairs%20Division,
General Orders G08-01, G08-01-01, G08-01-02, and Special Orders S08-01, 808-01-01-05, SOB-
01 -08, which are available for download free of charge at
http:r‘!directives.chicagooolice.org[directivesx‘. Responding further, the City refers Plaintiffs to its
Response to Plaintiffs’ Production Request No. 8.

23. All documents relating to any conviction, arrest, traffic stop, detention, field
interview, or commitment of either Defendant Officers andfor Plaintiff by any individual,
governmental entity, juvenile authority or law enforcement agency including but not limited to

the Defendants, Chicago Police Department, Cook County, the State of Illinois, U.S. Marshall‘s
Service and the Federal Bureau of Investigation (F.B.I.).

RESPONSE: The City objects to this request to the extent it calls for law enforcement records
not in the custody, possession, or control of the City, to the extent it seeks confidential juvenile
law enforcement records of Plaintiffs (if any) that are protected against disclosure and would
require a court order to release such records, unduly burdensome, not proportional and overbroad
in seeking juvenile arrest records of Plaintiffs given the procedure necessary to obtain such
records, overbroad as to time frame and scope, vague as to “documents relating to,” harassing,

irrelevant and disproportionate to the issues of the case to the extent this request seeks law

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enforcement records relating to Defendant Officers, and to the extent it seeks law enforcement
records relating to Officer Kelly’s June 2006 (FCRL 574-587) and January 2010 (part of Log
No. 1033096) arrests that have been expunged and, therefore, protected against disclosure in the
absence of a court order. Subject to and without waiving these objections, the City refers
Plaintiffs to the police reports associated with the August 2, 2013 incident alleged in Plaintiffs’
Amended Complaint (FCRL 1-106, 842-852), Arrest Report Search-Turner (FCRL 858), On-
View Arrest-Green (FCRL 68-72), CLEAR Contact Info Card (FCRL 859-883), CLEAR ISP
Negative (FCRL 883-884), Contact Card Search-Green (FCRL 886-892), CLEAR Stop Order
(FCRL 885), Arrest History-Tumer (FCRL 43-52), Arrest History-Green (FCRL 43-47), and
Bates-stamped documents FCRL 1-67, 73-106.

24. All documents, excluding attorney notes, relating to any civil action filed by or
against the Defendant Officers in the past 10 years, including, but not limited to, copies of

depositions any party has given (retained by Defendant City in either a paper or electronic
fonnat, affidavits you have signed under oath, auditor any written discovery certified by any

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RESPONSE: The City objects to this request on the following grounds: (l) harassing; (2)
unduly burdensome; (3) lacking proper foundation; (4) overbroad; (5) disproportionate to the
needs of the case; (6) calling for public records andior documents equally available to Plaintiff;
(?) vague as to the phrase “relating to” and (8) irrelevant

25. All documents indicating the identity, address, and telephone number of any
witnesses to any portion of the alleged incidents or alleged damages in this matter.

RESPONSE: The City objects to this request to the extent it seeks disclosure of personal
identifying information of both defendant and non-defendant Chicago Police Officers.
Disclosure of such personal information would infringe upon the legitimate privacy and security
interests of those officers and their families. Responding further, the City objects to this request

to the extent it calls for information equally available to Plaintiff or seeks documents already in

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Plaintiffs’ possession Finally, the City objects to this request to the extent it seeks information
or documents relating to witnesses who have knowledge of the Plaintiffs’ “alleged damages.”
Plaintiffs’ are the only ones with direct knowledge of their alleged damages and are, therefore
the only parties in a position to truly ascertain that information Consequently, the City objects to
this request as calling for documents or information outside of its custody, possession, or control.
Subject to and without waiving these objections, the City refers Plaintiffs to Defendants’ Joint
26(a) Disclosure Statement, the contents of Log No. 1063390 already in Plaintiffs’ possession
(FCRL 208-572), CFD Report (FCRL 821-824), CFD Run Sheets (FCRL 852-85?), and the
medical records Plaintiff has already obtained from St. Bemard and University of Chicago.

26. All documents relating to Plaintiff himself or the incident(s) for which Plaintiff
was seized or arrested, including documents relating to any other crimes in which Plaintiff was
suspected of involvement
RESPONSE: The City objects to this request as lacking foundation to the extent it seeks
“documents concerning the involvement or suspicion of other persons suspected of any type of
involvement in the crime for which Plaintiff was arrested” as the City is not aware of any such
person(s). Responding further, the City objects to this request on the following grounds (1) as
duplicative; (2) as calling for documents already in Plaintiffs’ possession; (3) vague and
overbroad; and (4) calling for documents not in the City’s possession, custody, or control.
Subject to and without waiving these objections, the City refers Plaintiffs’ to the documents
referenced in the City’s Response to Plaintiffs’ Production Request No. 23.

27. All documents relating to the crime for which Plaintiffs was arrested, including
documents concerning the involvement or suspicion of other persons suspected of` any type of
involvement in the crime for which Plaintiff was arrested

RESPONSE: ’Ihe City objects to this request as lacking foundation to the extent it seeks

“documents concerning the involvement or suspicion of other persons suspected of any type of

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involvement in the crime for which Plaintiff was arrested” as the City is not aware of any such
person(s). Responding further, the City objects to this request on the following grounds (1) as
duplicative; (2) as calling for documents already in Plaintiffs’ possession; (3) vague and
overbroad; and (4) calling for documents not in the City’s possession, custody, or control.
Subject to and without waiving these objections, the City refers Plaintiffs’ to the City’s response
to Plaintiffs’ Production Request No. 23.

28. All documents relating to communications or contacts between any party
(Plaintiff or Defendants) and any other person(s) relating to the subject matter of the complaint
(including any documents or tangible items shown to any such person). This request includes,
but is not limited to, any documents relating to any communication between the parties to this
lawsuit themselves; andr'or between any party and another law enforcement agency; andior
between any party and any employee of the State‘s Attorney‘s Office.

RESPONSE: The City objects to this request on the following grounds: (l) to the extent this
request specifically seeks documents relating to communications between City attorney(s) and
other City personnel concerning this litigation as calling for documents protected against
disclosure under the attorney-client privilege andfor attomey work-product doctrine; (2) calling
for irrelevant documents as this request, based on how it’s worded, could encompass email
communications between Defense Counsel and Plaintiffs’ Counsel regarding non-legal issues
such as scheduling or a variety of other topics having no bearing on the substantive legal issues
in the case and which are equally available to Plaintiffs’ Ccunsel; and (3) calling for documents
already in Plaintiffs’ possession. Subject to and without waiving these objections, the City refers
Plaintiffs to the contents of Log File No. 1063990 already in their possession (FCRL 208-5?2),
Court File (FCRL 102-20?), Criminal Court Transcripts (FCRL 588-798), CFD Report (FCRL
821-824), Original Case Incident Report (FCRL 841-851), IPRA Subpoena’s (FCRL 922-928),

and documents Bates-stamped FCRL 1-106 to the extent these documents may be responsive to

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this request The City has requested the administrative file relating to Docket No. 13VP012192
and will produce these materials upon receipt

29. All documents of statements relating to communication your attorneys, agents, or
anyone acting on your behalf, have had with any person regarding the subject matter of this
lawsuit or its parties (including any documents or tangible items shown to any such person). This
request includes, but is not limited to, any documents relating to any communications with any
employee of the State‘s Attorney's Office or City of Chicago Law Department employees in
relation to Docket No. 13VP012192.
RESPONSE: The City objects to this request on the following grounds: (1) to the extent this
request s specifically seeks documents relating to communications between City attomey(s) and
other City personnel concerning this litigation as calling for documents protected against
disclosure under the attorney-client privilege and!or attorney work-product doctrine; (2) calling
irrelevant documents as this request, based on how it’s worded, could encompass email
communications between Defense Counscl and Plaintiffs Counsel regarding non-legal issues
such as scheduling matters or a variety of other topics having no bearing on the substantive legal
issues in the case; {3) calling for documents already in Plaintiffs’ possession Subject to and
without waiving these objections, the City refers Plaintiffs to the contents of Log File No.
1063990 already in their possession (FCRL 208-572), Court File (FCRL 107-20?), Criminal
Court Transcripts (FCRL 588-798), CFD Report (FCRL 821-824), Original Case Incident Report
(FCRL 841-851), and documents Bates-stamped FCRL 1-106 to the extent these documents may
be responsive to this request The City has requested the administrative file relating to Docket

No. ]3VP012192 and will produce these materials upon receipt

30. The complete criminal files for all criminal matters relating to this case, excluding
privileged documents

RESPONSE: The City objects to this request to the extent it seeks documents outside of its

possession, custody, or control and calling for documents equally available to Plaintiffs. Subject

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to and without waiving these objections, the City refers Plaintiffs to Court File (FCRL 107-20?),

IPRA Subpoena’s (FCRL 922-928).

31. Any documents relating to communications by Defendants, or Defendants'
attorney or agent, or anyone acting on Defendants' behalf, in the criminal case(s) and this
litigation, with persons who are employed by or have worked for or been affiliated with the
Chicago Police Department, Office of Professional Standards, Intemal Affairs Division,
Independent Police Review Authority, or any other City Department
RESPONSE: The City objects to this request on the following grounds: (1) to the extent this
request specifically seeks documents relating to communications between Defendant Officers’
attomey(s) and other City personnel concerning this litigation, it should be directed to the
Defendant Officers; moreover, such a request potentially calls for documents protected against
disclosure under the attorney-client privilege andfor attorney work-product doctrine; (2) vague as
to the phrase “criminal case” as it is unclear what criminal case or whose this request is referring
to; (3) as irrelevant to the extent it seeks communications concerning Plaintiffs’ criminal case
and calling for documents not in the City’s possession, custody, or control; and (4) to the extent
this request specifically seeks documents relating to communications between City attomey(s)
and other City personnel concerning this litigation as calling for documents protected against
disclosure under the attorney-client privilege andfor attorney work-product doctrine

32. Any and all documents relating to the education and training the Defendant
Officers completed as required or recommended by the City of Chicago or Chicago Police
Department including any grades or test scores received.

RESPONSE: The City objects to this request (1) as overbroad and disproportionate to the
needs of the case in light of the particular claims being brought by Plaintiff and against the City
as this request seeks all document relating to any training the Defendant Officers completed

while Plaintiffs’ Moneli claim focuses on inadequate disciplinary investigations and their

pendent willfulfwanton supervision state law claim focuses solely on Officer Kelly’s training in

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the use of Tasers; (2) overbroad, irrelevant, harassing, and disproportionate to the needs of the
case in that it seeks “all documents relating to” Defendant Officers’ education; and (3) to the
extent it seeks transcripts, grades, test scores or other documentation relating to Defendant
Officers’ undergraduate education that might be contained in Defendant Officers’ respective
personnel files as protected against disclosure under the lllinois Personnel Record Review Act.
Subject to and without waiving these objections, the City refers Plaintiffs to Defendant Officers’
training histories, bates-stamped FCRL 893-92].

33. All documents relating to every complaint in the past ten (10) years of alleged
misconduct by each Defendant Officer regardless of whether discipline was imposed or a
sustained finding was issued or if the complaint is still pending. This request includes, but is not
limited to, complaint histories and prior complaint register ("CR") files.

RESPONSE: The City objects to this request as vague as to the phrase “all documents relating
to every complaint . . .” and as overbroad and unduly burdensome because “all documents
relating to every complaint” could potentially encompass a myriad of documents outside of the
normal documentation contained in a CR/Log File held by a variety ot` agencies, resulting in
substantial costs and an unreasonable expenditure of effort to the responding party. Responding
further, the City objects to this request as duplicative and to the extent it seeks documents,
specifically CRjLog Files of the Defendant Officers, already in Plaintiff’s possession. Finally,
the City objects to this request to the extent it seeks CR,fLog files (and any
documents!‘attachments) that remain pending or could be considered “open” investigations as the
investigating agency will not provide that documentation under those circumstances and
pursuant to the investigatory privilege (e.g., Log No. 1073630 and 1063990). Subject to and

without waiving these objections, the City refers Plaintiffs to the Defendant Officers’ CR)'Log

Files produced to them in Peop£e v. Tumer by IPRA and already in Plaintiffs’ possession (IPRA

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1-2957) along with the contents of two additional CD’s produced by Plaintiffs in their initial
disclosures

34. In the event that you withhold any document covered by these requests, you shall
prepare a list to be provided to the Defendant identifying each such document together with the
following information:

a) The paragraph of this request to which the document relates. In the
case of any document relating in any way to a meeting or any other
conversation, all participants in the meeting or conversation are to
be identified

b) The date of the document;

c) A brief description of the subject matter of the document;

d) The name of each author or preparer and an identification of each
such person;

e) The name of each person who was sent or furnished with the

document, received, viewed or has had custody of the document,
together with an identification of each and every such person;
f) The reason for withholding; and,
g) A statement of facts constituting the basis for any claim of
privilege, work product, or other ground of non-disclosure.
RESPONSE: The City refers Plaintiffs to: (l) FCRL 574-58?, which refers to Officer Kelly’s
June 2006 arrest and consists of CPD Case Report, lnventory Sheets, Original Case Incident
report, Supplementary Report, and photos under RD# HM4088449. These materials are being
withheld because they have now been expunged and require a court order for disclosure; (2)
FCRL 573 consists of an internal communication dated September 2], 2015 between
Corporation Counsel and IPRA relative to Log File No. 1070321 and is being withheld on the
basis of attorney work-product and the investigatory privilege; (3) the contents of Log Pile No.
1070321, which refers to an open IPRA investigation involving an interaction between Officer
Kelly and a civilian that occurred on October 8, 2014. These materials are being withheld

pursuant to the law enforcement investigatory privilege; (4) email communications dated

October 19, 2015 between Defense Counsel and attorney Molly Thompson regarding Plaintiffs’

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Counsel’s subpoena’s issued in Peop!e v. Turner, which are being withheld on the basis of the
attorney-work product doctrine. Please note that Log File No. 1063990 (FCRL 208-5 73) has
been bates-stamped and referred to in the City’s responses for future ease in producing the file

once it has been closed and the appropriate protective order entered.
Respectfully submitted,

/s/ Marsha!t' Keith Marlin
MARSHALL KEITH MARTIN
Assistant Corporation Counsel

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(312) ?42-03 05 (P)

(312) 744-6566 (F)

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CERTIFICATE OF SERVICE

I hereby certify that I have served this notice and the attached document Defendant
City’s Responses to Plaintiffs’ Requost for Production of Documents by causing it to be
delivered by [ ] hand delivery [ X ] U.S. Mail Postage Prepaid [ ] Court’s electronic filing
system to the following: LAW OFFICE OF JEFFREY B. GRANICH, Attn: Jeff`rey B.

Granich, 53 W. Jackson, Suite 1028, Chicago, IL 60604, on this Sth day of April 20]6.

/s/ Marshah' Ke ith Martin
MARSHALL KEITH MARTIN
Assistant Corporation Counsel

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